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                                                       U.S. Department of Justice

                                                       William D. Weinreb
                                                      Acting United States Attorney
                                                      District ofMassachusetts


Main Reception:(617) 748-3100                         John Joseph Moakley United Stales Courthouse
                                                      1 Courthouse Way
                                                      Suite 9200
                                                       Boston, Massachusetts 02210


                                                       May 11,2017

R. Bradford Bailey
Brad Bailey Law, P.C.
10 Winthrop Square, 4th Floor
Boston, MA 02110

         Re:       United States v. Dennis Pleites Ramos
                   Criminal No. 16crl0165-MLW


Dear Mr. Bailey:

         The United States Attorney for the District ofMassachusetts("the U.S. Attorney")and your
client, Dennis Pleites Ramos ("Defendant"), agree as follows with respect to the above-referenced
case:



         1.        Change of Plea


        At the earliest practicable date. Defendant shall plead guilty to the sole count in which he
is named in the above-referenced Indictment: conspiracy to engage in the business of dealing in
firearms,in violation of 18 U.S.C. §371 (Count 1). Defendant expressly and unequivocally admits
that he committed the crime charged in the above-referenced Count of the Indictment, did so
knowingly and intentionally, and is in fact guilty of that offense.

         2.        Penalties


        Defendant faces the following maximum penalties - incarceration for 5 years; supervised
release for 3 years; a fine of $250,000; a mandatory special assessment of $100; and forfeiture to
the extent charged in the Indictment.

        Defendant also recognizes that pleading guilty may have consequences with respect to
Defendant's immigration status if Defendant is not a citizen of the United States. Under federal
law, a broad range of crimes are removable offenses, including the offense to which Defendant is
pleading guilty. Removal and other immigration consequences are the subject of a separate
proceeding, however, and Defendant understands that no one, including defense counsel and the
District Court, can predict to a certainty the effect of this conviction on Defendant's immigration
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status. Defendant nevertheless affirms his decision to plead guilty regardless of any immigration
consequences that this plea may entail, even if the consequence is Defendant's automatic removal
from the United States.


       3.      Sentencing Guidelines

       The sentence to be imposed upon Defendant is within the discretion of the District Court
("Court"), subject to the statutory maximum penalties set forth above and the provisions of the
Sentencing Reform Act, and the advisory United States Sentencing Guidelines ("USSG" or
"Guidelines"). While the Court may impose a sentence up to and including the statutory maximum
term ofimprisonment and statutory maximum fine,it must consult and take into account the USSG
and the other factors set forth in 18 U.S.C. § 3553(a)in imposing a sentence.

      The U.S. Attorney will take the position that Defendant's total offense level under the
USSG (prior to any adjustment for acceptance ofresponsibility) is calculated as follows:

              • in accordance with USSG § 2K2.1(a)(6)(A), Defendant's base offense level is
                14, because Defendant was a prohibited person at the time ofthe offense;

              • in accordance with USSG §2K2.1(b)(4). Defendant's offense level is increased
                by 2 levels, because a firearm was a stolen firearm; and

              • in accordance with USSG § 2K2.1(b)(5). Defendant's offense level is increased
                by 4 levels, because Defendant engaged in the trafficking offirearms.

      The U.S. Attorney reserves the right to seek an upward departure pursuant to USSG
§ 4A1.3 should any of Defendant's prior convictions be vacated or Defendant's Criminal History
Category otherwise change after Defendant's indictment in this case.

        If Defendant contends that there is a basis for departure from, or a sentence outside, the
otherwise applicable Guidelines sentencing range based on Defendant's medical, mental, and/or
emotional condition, or otherwise intends to rely on any such condition at sentencing. Defendant
will, forthwith upon request, execute all releases and other documentation necessary to permit the
U.S. Attorney and his experts(including Bureau ofPrisons medical personnel)to obtain access to
Defendant's medical, psychiatric, and psychotherapeutic records and will also provide to the U.S.
Attorney forthwith copies of any such records already in Defendant's possession. In addition.
Defendant will authorize Defendant's care providers to discuss Defendant's condition with the
U.S. Attorney and his agents (including Bureau of Prisons medical personnel), as well as experts
retained by the U.S. Attorney. Defendant also agrees to submit to examinations and interviews
with experts retained by and chosen by the U.S. Attorney (including Bureau of Prisons medical
personnel).

       The U.S. Attorney reserves the right to oppose Defendant's argument(s) for a departure
from, or a sentence outside, the USSG imder the factors set forth in 18 U.S.C. § 3553(a).
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       Based on Defendant's prompt acceptance of personal responsibility for the offense of
conviction in this case, and information known to the U.S. Attomey at this time,the U.S. Attorney
agrees to recommend that the Court reduce by three levels Defendant's adjusted offense level
underUSSG§3El.l.

         The U.S. Attomey reserves the right not to recommend a reduction under USSG § 3E1.1
if, at any time between Defendant's execution ofthis Plea Agreement and sentencing, Defendant:

              (a)     Fails to admit a complete factual basis for the plea;

              (b)     Fails to tmthfully admit Defendant's conduct in the offense ofconviction;

              (c)     Falsely denies, or frivolously contests, relevant conduct for which
                      Defendant is accountable under USSG § 1B1.3;

              (d)     Fails to provide tmthful information about Defendant's financial status;

              (e)     Gives false or misleading testimony in any proceeding relating to the
                      criminal conduct charged in this case and any relevant conduct for which
                      Defendant is accountable under USSG § IB 1.3;

              (f)     Engages in acts that form a basis for finding that Defendant has obstructed
                      or impeded the administration ofjustice under USSG § 3C1.1;

              (g)     Intentionally fails to appear in Court or violates any condition ofrelease;

              (h)     Commits a crime;

              (i)     Transfers any asset protected under any provision of this Plea Agreement;
                      or



              (j)     Attempts to withdraw Defendant's guilty plea.

        Defendant understands and acknowledges that Defendant may not withdraw his plea of
guilty if,for any ofthe reasons listed above,the U.S. Attomey does not recommend that Defendant
receive a reduction in offense level for acceptance of responsibility. Defendant also understands
and acknowledges that, in addition to declining to recommend an acceptance-of-responsibility
adjustment, the U.S. Attomey may seek an upward adjustment pursuant to USSG § 3C1.1 if
Defendant obstmcts justice after the date ofthis Plea Agreement.

       Nothing in this Plea Agreement affects the U.S. Attomey's obligation to provide the Court
and the U.S. Probation Office with accurate and complete information regarding this case.
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       4.     Sentence Recommendation


       The United States Attorney agrees to recommend the following sentence before the Court:

              (a)     incarceration at the low end ofthe Guidelines sentencing range as calculated
                      by the Court at sentencing, excluding departures;

              (b)     a fine within the Guidelines sentencing range as calculated by the Court at
                      sentencing, excluding departures, unless the Court finds that Defendant is
                      not able and, even with the use of a reasonable installment schedule, is not
                      likely to become able to pay a fine;

              (c)     36 months of supervised release; and

              (d)     a mandatory special assessment of$100, which Defendant must pay to the
                      Clerk of the Court on or before the date of sentencing (unless Defendant
                      establishes to the Court's satisfaction that Defendant is unable to do so).

       Defendant agrees to provide the U.S. Attorney expert reports, motions, memoranda oflaw
and documentation of any kind on which Defendant intends to rely at sentencing not later than 21
days before sentencing. Any basis for sentencing as to which Defendant has not provided the U.S.
Attorney all such items at least 21 days before sentencing shall be deemed waived.

       5.     Waiver of Rights to Anneal and to Bring Future Challenge


              (a)     Defendant has conferred with his attorney and understands that he has the
                      right to challenge both his conviction and his sentence(including any orders
                      relating to supervised release, fines, forfeiture, and restitution) on direct
                      appeal. Defendant also understands that, in some circumstances. Defendant
                      may be able to argue in a future proceeding (collateral or otherwise), such
                      as pursuant to a motion under 28 U.S.C. § 2255, 28 U.S.C. § 2241, or 18
                      U.S.C. § 3582(c), that Defendant's conviction should be set aside or
                      Defendant's sentence (including any orders relating to supervised release,
                      fines, forfeiture, and restitution) set aside or reduced.

              (b)     Defendant waives any right to challenge Defendant's conviction on direct
                      appeal or in a future proceeding (collateral or otherwise).

              (c)     Defendant agrees not to file a direct appeal or challenge in a future
                      proceeding (collateral or otherwise) any sentence of imprisonment of 30
                      months or less or any orders relating to supervised release, fines, forfeiture,
                      and restitution. This provision is binding even if the Court's Guidelines
                      analysis is different from that set forth in this Plea Agreement.

              (d)     The U.S. Attorney likewise agrees that, regardless ofthe analysis employed
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                      by the Court, the U.S. Attorney will not appeal any imprisonment sentence
                      of24 months or more.


              (e)     Regardless ofthe previous sub-paragraphs, Defendant reserves the right to
                      claim that:(i)Defendant's lawyer rendered ineffective assistance ofcounsel
                      under Strickland v. Washington; or (ii) the prosecutor in this case engaged
                      in misconduct that entitles Defendant to relieffrom Defendant's conviction
                      or sentence.


       6.      Other Post-Sentence Events


              (a)     If, despite the waiver provision ofsub-paragraph 5(c), Defendant appeals or
                      challenges in a future proceeding (collateral or otherwise) Defendant's
                      sentence,the U.S. Attorney reserves the right to argue the correctness ofthe
                      sentence imposed by the Court (in addition to arguing that any appeal or
                      future challenge (collateral or otherwise)is waived as a result ofthe waiver
                      in sub-paragraph 5(c)).

              (b)     If, despite the waiver provision of sub-paragraph 5(c), Defendant seeks re-
                      sentencing, Defendant agrees not to seek to be re-sentenced with the benefit
                      ofany change to the Criminal History Category that the Court calculated at
                      the time of Defendant's original sentencing, except to the extent that
                      Defendant has been found actually factually innocent ofa prior crime.

              (c)     In the event ofa re-sentencing following an appeal from or future challenge
                      (collateral or otherwise)to Defendant's sentence,the U.S. Attomey reserves
                      the right to seek a departure from and a sentence outside the USSG if, and
                      to the extent, necessary to reinstate the sentence the U.S. Attomey
                      advocated at Defendant's initial sentencing pursuant to this Plea
                      Agreement.

       7.      Court Not Bound bv Plea Agreement


       The parties' sentencing recommendations and their respective calculations under the USSG
are not binding upon the U.S. Probation Office or the Court. Within the maximum sentence
Defendant faces under the applicable law,the sentence to be imposed is within the sole discretion
of the Court. Defendant's plea will be tendered pursuant to Fed. R. Crim. P. 11(c)(1)(B).
Defendant may not withdraw his plea of guilty regardless of what sentence is imposed, or because
the U.S. Probation Office or the Court declines to follow the parties' USSG calculations or
recommendations. Should the Court decline to follow the U.S. Attomey's USSG calculations or
recommendations, the U.S. Attomey reserves the right to defend the Court's calculations and
sentence in any direct appeal or future challenge (collateral or otherwise).
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       8.      Forfeiture


       Defendant hereby waives and releases any claims Defendant may have to any vehicles,
currency,or other personal property seized by the United States, or seized by any state or local law
enforcement agency and turned over to the United States, during the investigation and prosecution
ofthis case, and consents to the forfeiture of all such assets.

       9.      Civil Liabilitv


         By entering into this Plea Agreement, the U.S. Attomey does not compromise any civil
liability, including but not limited to any tax liability. Defendant may have incurred or may incur
as a result of Defendant's conduct and plea of guilty to the charges specified in Paragraph 1 ofthis
Plea Agreement.

        10.    Rejection of Plea bv Court


       Should Defendant's guilty plea not be accepted by the Court for whatever reason, or later
be withdrawn on Defendant's motion, this Plea Agreement shall be null and void at the option of
the U.S. Attomey.

       11.     Breach of Plea Agreement


        Ifthe U.S. Attomey determines that Defendant has failed to comply with any provision of
this Plea Agreement, has violated any condition of Defendant's pretrial release, or has committed
any crime following Defendant's execution ofthis Plea Agreement, the U.S. Attomey may, at his
sole option, be released from his commitments under this Plea Agreement in their entirety by
notifying Defendant,through counsel or otherwise, in writing. The U.S. Attomey may also pursue
all remedies available to him under the law, regardless whether he elects to be released from his
commitments under this Plea Agreement. Further, the U.S. Attomey may pursue any and all
charges that have been, or are to be, dismissed pursuant to this Plea Agreement. Defendant
recognizes that his breach of any obligation under this Plea Agreement shall not give rise to
grounds for withdrawal of Defendant's guilty plea, but will give the U.S. Attomey the right to use
against Defendant before any grand jury, at any trial or hearing, or for sentencing purposes, any
statements made by Defendant and any information, materials, documents or objects provided by
Defendant to the government, without any limitation, regardless of any prior agreements or
understandings, written or oral, to the contrary. In this regard. Defendant hereby waives any
defense to any charges that Defendant might otherwise have based upon any statute oflimitations,
the constitutional protection against pre-indictment delay, or the Speedy Trial Act.

       12.     Who Is Bound Bv Plea Agreement


        This Plea Agreement is limited to the U.S. Attomey for the District of Massachusetts, and
cannot and does not bind the Attomey General of the United States or any other federal, state or
local prosecutive authorities.
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       13.    Complete Plea Agreement

       This Plea Agreement can be modified or supplemented only in a written memorandum
signed by the parties or on the record in court.

       If this letter accurately reflects the agreement between the U.S. Attorney and Defendant,
please have Defendant sign the Acknowledgment of Plea Agreement below. Please also sign
below as Witness. Return the original of this letter to Assistant U.S. Attorney Michael Crowley
or Emily Cannon.

                                                   Very truly yours,

                                                   WILLIAM D. WEINREB
                                                   Acting United States Attorney

                                            By; ^ y*
                                                   PETER      LEVITT
                                                   Chief, Organized Crime and Gang Unit
                                                   TIMOTHY E. MORAN
                                                   Deputy Chief, OCGU




                                                   EMILY CANNON
                                                   Assistant U.S. Attorney
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                       ACKNOWLEDGMENT OF PLEA AGREEMENT


        I have read this letter in its entirety and discussed it with my attorney. I hereby
acknowledge that(a) it accurately sets forth my plea agreement with the United States Attorney's
Office for the District of Massachusetts;(b) there are no unwritten agreements between me and
the United States Attorney's Office; and(c)no official ofthe United States has made any unwritten
promises or representations to me, in connection with my change of plea. In addition, I have
received no prior offers to resolve this case. I understand the crime to which I have agreed to plead
guilty, the maximum penalties for that offense and the Sentencing Guideline penalties potentially
applicable to it. I am satisfied with the legal representation provided to me by my attorney. We
have had sufficient time to meet and discuss my case. We have discussed the charge against me,
possible defenses I might have, the terms of this Plea Agreement and whether I should go to trial.
I am entering into this Plea Agreement freely, voluntarily, and knowingly because I am guilty of
the offense to which I am pleading guilty, and I believe this Plea Agreement is in my best interest.




                                                      DENNIS PLEITES RAMOS
                                                      Defendant


                                                      Date:


       I certify that DENNIS PLEITES RAMOS has read this Plea Agreement and that we have
discussed its meaning. I believe he understands the Plea Agreement and is entering into the Plea
Agreement freely, voluntarily, and knowingly. I also certify that the U.S. Attorney has not
extended any other offers regarding a change of plea in this case.




                                                      R. BRADFORP^AILEY
                                                      Attorney for,Defendant

                                                      Date
